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                16                                  UNITED STATES DISTRICT COURT

                17                                 NORTHERN DISTRICT OF CALIFORNIA

                18                                      SAN FRANCISCO DIVISION

                19

                20 OWEN DIAZ,                                         Case No. 3:17-cv-06748-WHO

                21                    Plaintiff,                      [PROPOSED] ORDER GRANTING
                                                                      DEFENDANT TESLA INC.’S MOTION
                22             vs.                                    FOR NEW TRIAL ON LIABILITY AND
                                                                      DAMAGES
                23 TESLA, INC. DBA TESLA MOTORS, INC.,

                24                    Defendant.

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                                                                                      Case No. 3:17-cv-06748-WHO
09202-00023/13682672.1      [PROPOSED] ORDER GRANTING TESLA’S MOTION FOR NEW TRIAL ON LIABILITY AND DAMAGES
                         Case 3:17-cv-06748-WHO Document 359-1 Filed 10/14/22 Page 2 of 2




                  1                                        [PROPOSED] ORDER

                  2          Now before the Court is Defendant Tesla, Inc. DBA Tesla Motors, Inc.’s (“Tesla”) Motion

                  3 for New Trial On Liability and Damages (“Motion”). Upon consideration of the papers filed in

                  4 support of and in opposition to the Motion, this Court concludes as follows.

                  5          The issues of damages are not “so distinct and separable from [liability] that a trial of [them]

                  6 alone may be had without injustice.” Gasoline Products Co. v. Champlin Refining Co., 283 U.S.

                  7 494, 500 (1931). Accordingly, the Court grants a new trial as to liability and damages issues.

                  8          IT IS THEREFORE ORDERED that Tesla’s motion for a new trial on liability and

                  9 damages is GRANTED.

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                13         Dated: _________________

                14                                                 The Honorable William H. Orrick
                                                                   United States District Judge
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09202-00023/13682672.1     [PROPOSED] ORDER GRANTING TESLA’S MOTION FOR NEW TRIAL ON LIABILITY AND DAMAGES
